 B6D (Official Form 6D) (12/07)                                                                                                       EXHIBIT B - 1
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   In re         Kimberly Jo Linebarger                                                                                        Case No.     11-24753
                                                                                                                  ,
                                                                                                  Debtor

                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                             O    N   I
                                                                                                                                             CLAIM
           AND MAILING ADDRESS
                                                             D   H        DATE CLAIM WAS INCURRED,                         N    L   S
                                                                                                                                                             UNSECURED
                                                             E
                                                                             NATURE OF LIEN, AND                           T    I   P       WITHOUT
            INCLUDING ZIP CODE,                              B   W                                                         I    Q   U
                                                                                                                                           DEDUCTING         PORTION, IF
           AND ACCOUNT NUMBER                                T   J         DESCRIPTION AND VALUE                           N    U   T                           ANY
                                                             O   C                OF PROPERTY                              G    I   E       VALUE OF
             (See instructions above.)                       R
                                                                                SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxxxxx6348                                               Opened 12/01/04 Last Active 11/04/11                       E
                                                                                                                                D

BECU*                                                                PMSI
Attn: Bankruptcy Dept
PO Box 97050                                                         2005 Ford Escape
                                                                 -
Seattle, WA 98124-9750

                                                                        Value $                             9,879.00                           565.00                      0.00
Account No. xxxxxxxxx6215                                            Opened 2/01/07 Last Active 11/01/11

Chase Home Finance*                                                  1st Deed of Trust
PO Box 24696
Columbus, OH 43224-0696                                              Residence
                                                                 -

                                                                        Value $                            80,000.00                        146,762.12             66,762.12
Account No. B103                                                     Owners Dues

Emerald Pointe HOA                                                   Residence
c/o Yalnes, Inc
PO Box 99773
                                                                 -
Seattle, WA 98139

                                                                        Value $                            80,000.00                           290.63                  290.63
Account No.                                                          Notice Only

King County Assessors*                                               Residence
500 Fourth Ave
#ADM-AS-0708
                                                                 -
Seattle, WA 98104

                                                                        Value $                            80,000.00                              0.00                     0.00
                                                                                                                        Subtotal
 0
_____ continuation sheets attached                                                                                                          147,617.75             67,052.75
                                                                                                               (Total of this page)
                                                                                                                          Total             147,617.75             67,052.75
                                                                                                (Report on Summary of Schedules)

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                 Case 11-24753-TWD                            Doc 29-3             Filed 04/06/21             Ent. 04/06/21 11:43:29             Pg. 1 of 1
